Case 1:14-md-02513-RGS Document 118 Filed 01/17/18 Page 1 of 6

IN THE UNITED STATES DISTRICT
COURT DISTRICT OF MASSACHUSETTS

IN RE: COLLECTO, INC. TELEPHONE ) Master MDL No. 14-md-2513~RGS
CONSUMER PROTECTION ACT (TCPA) )

LITIGATION

This Document Relates To:

l:l3-cv-11944-RGS
l :14-cv-lO478-RGS
l

)
)
)
)
) :14-cv-10532-RGS
l

 

FINAL APPR§ !VAL QRDER AND FINAL JUDGMENT

THIS MATTER came before the Court on Representative Plaintiffs’ motion for final
approval of the proposed class settlement (the “Settlement”) and Class Counsel’s application
for attorneys’ fees, costs and expenses, and for Service Awards for the Representative
Plaintiffs. The Court has considered all papers filed and proceedings in this matter and is
fully informed regarding the facts surrounding the proposed Settlement. Based upon this
information, the Court has determined to approve the proposed Settlement as fair, reasonable,
and adequate. The Court hereby enters this Settlement Order and Final Judgment (“Final
Judgment”), Which constitutes a final adjudication on the merits of all claims of the
Settlement Class.

On August 10, 2017, this Court granted preliminary approval to the proposed
Settlement between Representative Plaintiffs and Collecto, Inc. (collectively, “Defendant”).
The proposed Settlement resolves all of the Settlement Class’s claims against Defendant in
exchange for Defendant’s agreement to provide certain monetary relief to Settlement Class
Members as set forth in the Agreement. On January 17, 2018, this Court held a Settlement
Hearing to consider Whether to grant final approval to the Settlement and to consider Class
Counsel’s application for an award of attorneys’ fees and costs (“Fee Application”), and
Service Award to the Representative Plaintiffs. The Court heard argument from counsel. No

objectors Were present.

Case 1:14-md-02513-RGS Document 118 Filed 01/17/18 Page 2 of 6

Having read, reviewed and considered the papers filed in support of and in opposition
to final approval of the Settlement, including supporting declarations; oral arguments of
counsel and presentations by members of the Class who appeared at the hearing; Class
Counsel’s Fee Application and request for Service Awards; the Motion for Final Approval of
the Class Action Settlement; the Agreement; and the pleadings, the Court finds and concludes
as follows:

l. Dejinitions. The definitions and provisions of the Settlement Agreement and
Release of Claims (the “Agreement”) are incorporated in this Final Judgment as though fully
set forth herein.

2. Jur£sdiction. This Court has jurisdiction over the subject matter of the
Agreement With respect to and over all parties to the Agreement, including
Representative Plaintiffs and all members of the Settlement Class.

3. Settlement Approval. The Court hereby grants final approval to the Settlement
and finds the non-reversionary $3.2 million settlement is, in all respects, fair, reasonable, and
adequate, and in the best interests of the Settlement Class. The Court finds the Settlement is
within the authority of the parties and the result of extensive arm’s length negotiations with
the guidance of an experienced mediator.

4. Class Certification. This Court confirms the proposed Settlement Class
satisfies the requirements of Fed. R. Civ. P. 23, as found in the Court’s Order Granting
Preliminary Approval of Class Action Settlement (“Preliminary Approval Order”).
Accordingly, this Court makes final the conditional class certification set forth in the
Preliminary Approval Order.

5. Objections and Opt-Outs. Counsel have informed the court that there were
no objections to the proposed settlement, and no objectors were present for the Final

Settlement Hearing. Counsel have informed the court that there is one (1) opt-out, and

Case 1:14-md-02513-RGS Document 118 Filed 01/17/18 Page 3 of 6

lead plaintiffs counsel will file with the court a completed list of any persons or entities opting
out of the settlement no later than ten (10) days from the entry of this order.

6. No Admissiou. Neither this Final Judgment nor the Agreement is an admission

or concession by Defendant of the validity of any claims or of any liability or Wrongdoing or of
any violation of law. This Final Judgment and the Agreement do not constitute a concession
and shall not be used as an admission or indication of any wrongdoing, fault or omission by
Defendant or any other person in connection with any transaction, event or occurrence, and
neither this Final Judgment nor the Agreement nor any related documents in this proceeding,
nor any reports or accounts thereof, shall be offered or received in evidence in any civil,
criminal, or administrative action or proceeding, other than such proceedings as may be
necessary to consummate or enforce this Final Judgment, the Agreement, and all releases given
thereunder, or to establish the affirmative defenses of res judicata or collateral estoppel barring

the pursuit of claims released in the Agreement.

7. Dismissal with Prejudice. This Court hereby dismisses with prejudice all
claims of Settlement Class Members against Defendants within the scope of the Released

Claims defined by the Settlement Agreement.

8. Release. Representative Plaintiffs, for themselves and as representatives of the
Settlement Class, and on behalf of each Settlement Class Member who has not timely opted out
and each of their respective agents, successors, heirs, assigns, and any other person who can
claim by or through them in any manner, fully, finally, and forever irrevocably release,
relinquish, and forever discharge with prejudice all Released Claims against the Released

Parties.

9. Injunction Against Asserting Released Claims. Representative Plaintiffs, all
Settlement Class Members, and any person or entity allegedly acting on behalf of Settlement

Class Members, either directly, representatively or in any other capacity, are permanently

Case 1:14-md-02513-RGS Document 118 Filed 01/17/18 Page 4 of 6

enjoined from commencing or prosecuting against the Released Parties any action or
proceeding in any court or tribunal asserting any of the Released Claims, provided, however,
that this injunction shall not apply to individual claims of any Settlement Class Members who
timely requested exclusion from the Settlement Class. This injunction is necessary to protect
and effectuate the settlement, this Order, and the Court’s flexibility and authority to effectuate
this settlement and to enter judgment When appropriate, and is ordered in aid of the Court’s
jurisdiction and to protect its judgments pursuant to 28 U.S.C. § 1651(a).
lO. General Release Acknowledgement. By operation of this Final Judgment, the

Representative Plaintif`fs and Defendant expressly waive, and each Settlement Class Member is
deemed to have waived, any and all claims, rights, or benefits they may have under California
Civil Code § 1542 and any similar federal or state law, right, rule, or legal principle that may

apply. California Civil Code § 1542 provides as follows:

A general release does not extend to claims which the creditor does

not know or suspect to exist in his or her favor at the time of

executing the release, which if known by him or her must have

materially affected his or her settlement with the debtor.

ll. Class Notice. The Settlement Administrator completed the delivery of Class

Notice according to the terms of the Agreement. The Class Notice given by the Settlement
Administrator to the Settlement Class, which set forth the principal terms of the Agreement and
other matters, Was the best practicable notice under the circumstances The Class Notice
program prescribed by the Agreement was reasonable and provided due and adequate notice of
these proceedings and of the matters set forth therein, including the terms of the Agreement, to
all parties entitled to such notice. The Class Notice given to the Settlement Class Members
satisfied the requirements of Federal Rule of Civil Procedure 23 and the requirements of
constitutional due process. The Class Notice was reasonably calculated under the
circumstances to apprise Settlement Class Members of the pendency of this Action, all

material elements of the Settlement, and their opportunity to exclude themselves from, object

Case 1:14-md-02513-RGS Document 118 Filed 01/17/18 Page 5 of 6

to, or comment on the Settlement and appear at the Settlement Hearing. The Court has
afforded a full opportunity to all Settlement Class Members to be heard. Accordingly, the
Court determines that all members of the Settlement Class, except those who timely excluded
themselves from the Class, are bound by this Final Judgment.

12. Notifications to Appropriate F ederal and State Ufficials. Within ten (l 0) days
after the filing of the proposed Agreement in this Court, Defendant served a notice of the
proposed Settlement upon the appropriate state official of each State in which a Class member
resides and upon the Attomey General of the United States. The Court finds that the notice
provided by Defendant satisfied the requirements of 28 U.S.C. § 1715(b) and that more than
ninety (90) days have elapsed since Defendant provided the required notice, as required by 28

U.S.C. section 1715(d).

13. Continuing Jurisdiction. Without affecting the finality of this Final Judgment,
the Court retains continuing jurisdiction over (a) implementation of the Agreement,
distribution of the settlement payments, Service Award, and attomeys’ fees and costs
contemplated by the Agreement, and processing of the claims permitted by the Agreement,
until each and every act agreed to be performed pursuant to the Agreement has been
performed, and (b) all parties to this Action and members of the Settlement Class for the
purpose of enforcing and administering the Agreement.

l4. ServiceAward. As an incentive payment in compensation for the time,
effort, and risk they undertook as representatives of the Settlement Class, the Court
hereby awards $ 5,000 (five thousand[ each to Robert Pegg, John Lofton, Richard
Davenport and Ralph Davenport, for a total Service Award of $L,(MGL'_¢LV_
thousandl, to be paid by the Defendant from the Settlement Fund.

15. Class Counsel Fee and CostAward. The Court hereby awards attomeys’
fees and costs to compensate Class Counsel for their time incurred and expenses advanced.

The Court has concluded that: (a) Class Counsel achieved a favorable result for the Class

Case 1:14-md-02513-RGS Document 118 Filed 01/17/18 Page 6 of 6

by obtaining Defendant’s agreement to make available to Settlement Class Members
certain monetary relief; (b) Class Counsel devoted substantial effort to pre-and post-filing
investigation, legal analysis, and litigation; (c) Class Counsel prosecuted the Class’s claims
on a contingent-fee basis, investing significant time and accumulating costs with no
guarantee that they would receive compensation for their services or recover their expenses;
(d) Class Counsel employed their knowledge of and experience with class action litigation
in achieving a valuable settlement for the Class, in spite of Defendant’s possible legal
defenses and their experienced and capable counsel; (e) The Representative Plaintiffs have
reviewed the Agreement and been informed of Class Counsel’s attorney fee and cost
application and have approved; (f) the Class Notice informed Settlement Class Members of
Class Counsel’s fee and cost request under the Agreement; and (g) Class Counsel filed and
posted their Fee Application in time for Settlement Class Members to make a meaningful
decision whether to object to the Fee Application. For these reasons, the Court hereby
approves Class Counsel’s Fee Application and awards to Class Counsel fees and costs in
the total amount of $ 1,300,000 1$1.3 million), to be paid by the Defendant from the
Settlement Fund. All such fees are in lieu of statutory fees that Representative Plaintiffs
and/or the Class might otherwise have been entitled to recover.

16. Payment Timing. Defendant shall pay the fee and cost awards to Class
Counsel and the Service Award to Representative Plaintiffs, as well as amounts due to
eligible Settlement Class Members who timely filed a claim under the Agreement, in

accordance with and at the times prescribed by the Agreement.

IT IS SO ORDERED.

      

/&)

The Honorable `chard G. Stearns
United Stated District Court Judge for the
District of Massachusetts

Dated: l 2 0 18

 

